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           EXHIBIT 29
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                                           OAKLAND INTERNATIONAL AIRPORT
                                              MONTHLY ACTIVITY REPORT
                                                  CALENDAR YEAR

                                                                        YEAR TO YEAR        CALENDAR YEAR-TO-DATE
                                      JUN 24             JUN 23           INC/DEC         2024        2023      INC/DEC
PASSENGER TOTALS
  ENPLANING                              520,016            511,837           1.60%       2,717,797        2,726,221     -0.31%
  DEPLANING                              496,305            485,948           2.13%       2,738,477        2,739,773     -0.05%
   TOTAL                               1,016,321            997,785           1.86%       5,456,274        5,465,994     -0.18%

LANDED WEIGHTS (M lbs)
  PAX CARRIERS                           549,587            567,969           -3.24%      3,138,854        3,281,964     -4.36%
  CARGO CARRIERS                         254,521            273,947           -7.09%      1,518,520        1,652,905     -8.13%
   TOTAL                                 804,108            841,916           -4.49%      4,657,374        4,934,869     -5.62%

AIRCRAFT MOVEMENTS                        19,952             18,266           9.23%         108,731          107,316     1.32%

AVIATION FUEL (GALS)
  GENERAL AVIATION                       666,593            597,734          19.65%       4,299,480        4,055,574     6.01%
  CONTRACT SALES                       8,840,818          7,614,094          16.11%      47,830,632       47,974,058     -0.30%
   TOTAL                               9,507,411          8,211,828          16.37%      52,130,112       52,029,632     0.19%

AIR MAIL (M lbs)
  MAIL IN                                       920               493        86.61%           2,792            4,326    -35.46%
  MAIL OUT                                       606              207       192.75%           2,007            4,358    -53.95%
   TOTAL                                       1,526              700       118.00%           4,799            8,684    -44.74%
FREIGHT (M lbs)
 FREIGHT IN                               44,043             42,764           2.99%         262,357          270,741     -3.10%
 FREIGHT OUT                              44,148             42,766           3.23%         260,418          258,176      0.87%
  TOTAL                                   88,191             85,530           3.11%         522,775          528,917     -1.16%
AIR MAIL & FREIGHT (M lbs)
 IN                                       44,963             43,257           3.94%         265,149          275,067     -3.61%
OUT                                       44,754             42,973           4.14%         262,425          262,534     -0.04%
  TOTAL                                   89,717             86,230           4.04%         527,574          537,601     -1.87%
CONCESSIONS
 SHOPS                                1,783,070           2,022,692          -11.85%       9,478,540       10,484,196    -9.59%
 RESTAURANT/BAR                       3,628,700           3,063,295           18.46%      18,740,913       18,610,500     0.70%
  TOTAL REVENUE ($)                $ 5,411,770         $ 5,085,987             6.41%   $ 28,219,453     $ 29,094,696     -3.01%
CAR RENTALS REVENUE ($)            $ 8,484,147         $ 8,606,017            -1.42%   $ 39,990,348     $ 43,295,525     -7.63%
PARKING LOT
 DAILY EXITS                              28,302             28,246           0.20%         168,975          170,289     -0.77%
 PREMIER LOT EXITS                         8,573              8,103           5.80%          50,260           48,690      3.22%
 HOURLY EXITS                             26,579             26,668          -0.33%         133,193          130,462      2.09%
 ECONOMY EXITS                           11,961               9,870          21.19%          65,486           60,720      7.85%
PARKING LOT REVENUE ($)               $3,409,868         $3,019,652          12.92%     $19,358,663      $18,006,511      7.51%
TNC ACTIVITY
 TNC TRIP COUNT                          137,648           125,610            9.58%         798,074          735,880     8.45%
TOTAL TNC REVENUE ($)                   $485,080          $464,757            4.37%      $2,816,306       $2,722,756     3.44%
BART CONNECTOR RIDERS
 TO AIRPORT                               19,821             18,190           8.97%         112,562          110,884     1.51%
 TO BART                                  18,135             16,842           7.68%          96,823           94,450     2.51%
ROLLING 12 MONTH PASSENGER TOTALS
JUL 1, 2023 THRU JUN 30, 2024                            11,229,355
JUL 1, 2022 THRU JUN 30, 2023                            11,567,269
                                                             -2.92%

Prepared by Port of Oakland Finance Division
